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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



UNITED STATES OF AMERICA                         *
                                                 *
                                                 *
v.                                               *           Crim. No. PJM 11-0567
                                                 *
                                                 *
JOHN HOLT                                        *
                                                 *
       Petitioner                                *
                                                 *

                          AMENDED MEMORANDUM OPINION


       John Holt has filed a Motion to Reduce Sentence pursuant to 18 U.S.C. § 3582(c), relying

on Amendment 782 to the U.S. Sentencing Guidelines. ECF No. 497. The Court finds he is

ineligible for a reduction pursuant to Amendment 782 because he was sentenced to a statutory

mandatory minimum sentence of 10 years imprisonment. Accordingly, the Court will DENY his

Motion.


                                                 I.


       On August 28, 2013, Holt pled guilty to conspiracy to distribute and possess with intent

to distribute five kilograms or more of cocaine and 280 grams or more of cocaine base, in

violation of 21 U.S.C. § 846, and use of a communication device to facilitate narcotics

trafficking, in violation of 21 U.S.C. § 843(b). At sentencing, the Court adopted the factual

findings and advisory guideline applications in the Presentence Report (PSR), resulting in a base

offense level at 32. Combined with a two-level downward departure for acceptance of

responsibility pursuant to U.S.S.G. § 3E1.1(a), Holt’s final offense level was 30, with a criminal


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history category of II. The guidelines range for imprisonment was therefore 108 months to 135

months. However, Holt was subject to the 10-year mandatory minimum for Count I under 21

U.S.C. § 841(b)(1)(A). On November 25, 2013, the Court sentenced Holt to 120 months in

prison.

          On May 16, 2016, Holt filed the present Motion to Appoint Counsel and Motion to

Reduce Sentence, seeking a reduction in his sentence pursuant to Amendment 782. ECF No. 497.

On November 21, 2016, the Government filed its opposition to the Motion. ECF No. 500. Holt

has filed no reply.


                                                 II.


          Under 18 U.S.C. § 3582(c), “a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission” may file a motion asking the Court to reduce his sentence. The Court may reduce

the defendant’s term of imprisonment “after considering the factors set forth in section 3553(a)

to the extent that they are applicable, if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

          Amendment 782, effective November 1, 2014, reduced by two levels the base offense

level in the Advisory Guidelines under § 2D1.1 for certain drug offenses. Amendment 782,

however, did not have the effect of reducing a defendant’s sentence below a statutory mandatory

minimum, unless the court originally had the authority to sentence the defendant below the

mandatory minimum based on his substantial assistance to authorities. See U.S.S.G. § 1B1.10(a),

(c); see also id., Application Note 1(A) (“[A] reduction in the defendant’s term of imprisonment

is not authorized under 18 U.S.C. 3582(c)(2) and is not consistent with this policy statement if

. . . the amendment does not have the effect of lowering the defendant’s applicable guideline

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range because of the operation of another guideline or statutory provision (e.g., a statutory

mandatory minimum term of imprisonment).”) (emphasis supplied).

       As the Government notes, Holt was subject to a statutory mandatory minimum sentence

under 21 U.S.C. §§ 841(b)(1)(A) at the time of his sentencing. He did not receive any downward

departure from his Advisory Guidelines range based on substantial assistance to authorities.

Absent such departure for substantial assistance, Holt is not eligible to receive a sentence below

the statutory mandatory minimum. See U.S.S.G. § 1B1.10(a)(2), (c). He is thus not eligible for

any reduction to his 10 year sentence under Amendment 782.

                                                      III.

       For the above reasons, Holt’s Motion to Reduce Sentence under 18 U.S.C. § 3582(c),

ECF No. 497, is DENIED.

       A separate Order will ISSUE.



                                                           /s/________________
                                                    PETER J. MESSITTE
                                              UNITED STATES DISTRICT JUDGE


January 17, 2017




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